  Case 17-10097-ABA            Doc 92      Filed 07/12/18 Entered 07/12/18 09:32:51                 Desc Main
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

Caption in Compliance with D.N.J. LBR 9004-1(b)

Andrew Sklar, Esquire
Sklar Law, LLC
1200 Laurel Oak Road – Suite 102
Voorhees, New Jersey 08043
(856) 258-4050
Chapter 7 Trustee




                                                                Case No.:          17-10097/ABA
                                                                                ___________________
In Re:
BANGER’S SPORT SHOP LLC                                         Chapter:                 7
                                                                                ___________________

                                                                Judge:          Andrew B Altenburg
                                                                                ___________________




                                NOTICE DEPOSITING UNCLAIMED FUNDS
                                   PURSUANT TO D.N.J. LBR 3011-1(a)
            Andrew Sklar
   _____________________________, trustee in the above captioned matter states that the entire amount in
   the trustee’s account has been disbursed and that the following funds remain unclaimed. The undersigned
                                                                           $.99
   will immediately forward a check to the court in the amount of _____________________, payable to the
   Clerk, United States Bankruptcy Court. The parties entitled to said funds are listed below together with
   their last known address.


                                    PAYEE                                                AMOUNT
                               NAME AND ADDRESS

         Dylan J. Snively
         8 Union Avenue
         Stratford, NJ 08084                                                                 $.29


         Colton J. Gemenden
         797 Lincoln Avenue
         Williamstown, NJ 08094                                                              $.29


         JWH Real Estate, LLC
         c/o Jeffrey A Cohen, Esquire
         Flaster Greenberg                                                                   $.33
         1810 Chapel Avenue West
         Cherry Hill, NJ 08002
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                         PAYEE                                     AMOUNT
                    NAME AND ADDRESS

    Wayne Stark
    7 Nicholas Lane
    Oceanview, NJ 08230                                               $.08




      7/12/2018
Date: _____________________                         /s/ Andrew Sklar
                                                   ______________________________
                                                   Trustee

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